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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

UNITED STATES OF AMERICA )
Vv. Criminal No. 3:17CR57-HEH
DWAYNE ALONZO PROCTOR,
Petitioner.
MEMORANDUM OPINION

 

(Denying 28 U.S.C. § 2255 Motion)

Petitioner, a federal inmate proceeding pro se, submitted this motion under 28
U.S.C. § 2255 to vacate, set aside, or correct his sentence (“§ 2255 Motion,” ECF
No. 152).! The Government has moved to dismiss, asserting that Petitioner’s § 2255
Motion is barred by the statute of limitations.? (ECF No. 157.) For the reasons set forth
below, Petitioner’s § 2255 Motion will be denied as barred by the statute of limitations.

I. PROCEDURAL HISTORY
Petitioner pled guilty to conspiracy to distribute and possess with intent to

distribute one kilogram or more of heroin. (ECF No. 115, at 1.) On March 27, 2018, the

 

! The Court employs the pagination assigned to the documents by the CM/ECF docketing
system. The Court corrects the spelling, capitalization, and punctuation in the quotations from
the parties’ submissions.

2 Petitioner has moved for default judgment because the Government’s Motion to Dismiss was
filed outside of the sixty-day window set by the Memorandum Order entered on November 20,
2019. While the Government’s tardiness is no cause for commendation, it was not so egregious
as to entitle Petitioner to any relief. Accordingly, Petitioner’s motions seeking default judgment
(ECF Nos. 155, 156) will be denied.
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Court entered Judgment and sentenced Petitioner to 240 months of imprisonment. (ECF
No. 131, at 2.) Petitioner did not appeal.?

On June 3, 2019, the Court received a motion from Petitioner requesting an
extension of time to file a 28 U.S.C. § 2255 motion. (ECF No. 142.) By Memorandum
Order entered on August 5, 2019, the Court denied Petitioner’s Motion for an Extension
of Time and mailed Petitioner the forms for filing a 28 U.S.C. § 2255 motion. (ECF
No. 146.)

On November 14, 2019, Petitioner executed his § 2255 Motion and presumably
handed it to prison officials for mailing to this Court. (ECF No. 152, at 7.) The Court
deems the § 2255 Motion filed as of that date. See Houston v. Lack, 487 U.S. 266, 276
(1988).

In his § 2255 Motion, Petitioner contends that he is entitled to relief because his
counsel failed to file an appeal when he instructed her to do so. (ECF No. 152-1, at 1-2.)

Il. STATUTE OF LIMITATIONS

Section 101 of the Antiterrorism and Effective Death Penalty Act (““AEDPA”)
amended 28 U.S.C. § 2255 to establish a one-year period of limitation for the filing of a
§ 2255 Motion. Specifically, 28 U.S.C. § 2255(f) now reads:

(f) A 1-year period of limitation shall apply to a motion under this
section. The limitation period shall run from the latest of—

 

3 On April 27, 2018, the Court received a letter from Petitioner requesting his Statement of Facts
and his docket sheet. (ECF No. 133, at 1.) On April 30, 2018, the Clerk promptly responded by
letter and informed Petitioner the cost for obtaining these documents. (ECF No. 133-1.)

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(1) the date on which the judgment of conviction becomes
final;

(2) the date on which the impediment to making a motion
created by governmental action in violation of the
Constitution or laws of the United States is removed, if
the movant was prevented from making a motion by
such governmental action;

(3) the date on which the right asserted was initially
recognized by the Supreme Court, if that right has been
newly recognized by the Supreme Court and made
retroactively applicable to cases on collateral review; or

(4) the date on which the facts supporting the claim or
claims presented could have been discovered through
the exercise of due diligence.

28 U.S.C. § 2255(f).

Under 28 U.S.C. § 2255(f)(1), Petitioner’s judgment of conviction became final on
Tuesday, April 10, 2018, the last date to file a notice of appeal. See United States v.
Clayton, No. 3:07CR488, 2010 WL 4735762, at *3 (E.D. Va. Nov. 15, 2010) (citing
Arnette v. United States, Nos. 4:01CR16, 4:04CV122, 2005 WL 1026711, at *4 (E.D. Va.
May 2, 2005)). Hence, Petitioner had until April 10, 2019 to file any motion under 28
U.S.C. § 2255. Because Petitioner did not file his § 2255 Motion until November 14,
2019, the § 2255 Motion is untimely under 28 U.S.C. § 2255(f)(1). Unless Petitioner
demonstrates a viable basis for a belated commencement of the limitation period or any
equitable reason for not enforcing the limitation period, the action is barred by the statute

of limitations.
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A. Belated Commencement

Petitioner is entitled to a belated commencement of the limitation period under 28
U.S.C. § 2255(f)(4) for his claim that counsel failed to file an appeal as instructed. That
provision provides that limitation period should run from “the date on which the facts
supporting the claim or claims presented could have been discovered through the exercise
of due diligence.” 28 U.S.C. § 2255(f)(4).

Whether a petitioner has exercised due diligence is a fact-specific inquiry unique
to each case. Wims v. United States, 225 F.3d 186, 190-91 (2d Cir. 2000). A petitioner
bears the burden to prove that he or she exercised due diligence. DiCenzi v. Rose, 452
F.3d 465, 471 (6th Cir. 2006). “Due diligence . . . does not require a prisoner to
undertake repeated exercises in futility or to exhaust every imaginable option.” Anjulo-
Lopez v. United States, 541 F.3d 814, 818 (8th Cir. 2008) (quoting Aron v. United States,
291 F.3d 708, 712 (11th Cir. 2002)). Due diligence, however, “at least require[s] that a
prisoner make reasonable efforts to discover the facts supporting his claims.” Jd.
(citation omitted). Moreover, in evaluating a petitioner’s diligence, the Court must be
mindful that the “statute’s clear policy calls for promptness.” Johnson v. United States,
544 U.S. 295, 311 (2005).

As relevant here, Petitioner swears that:

Counsel and I discussed an appeal briefly. Counsel told me many
times that I was waiving my rights including my rights to appeal.

Nonetheless, I became aware at the time of sentencing I could appeal. I
brought it up to Counsel that I was wanting to appeal to the Court of Appeals.
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She was very negative to the idea. But, I persisted that I wanted her to file
an appeal. She finally reluctantly agreed.

(ECF No. 152-1, at 1.)

Counsel’s failure to pursue an appeal was discoverable as of April 11, 2018, when
it became apparent that counsel had not filed an appeal in the time required. See Green v.
Johnson, 515 F.3d 290, 305 (4th Cir. 2008); Wade v. Robinson, 327 F.3d 328, 333 (4th
Cir. 2003). Although Petitioner possessed the ability to discover his counsel’s failure to
appeal on April 11, 2018, “to require that he do so ignores the reality of the prison system
and imposes an unreasonable burden on prisoners seeking to appeal.” Granger v. Hurt,
90 F. App’x 97, 100 (6th Cir..2004) (citing Wims, 225 F.3d at 190 n.4). While no “magic
number” exists for the time afforded a reasonable prisoner to discover counsel failed to
file a promised appeal, a petitioner must offer some evidence that he acted with due
diligence. Ryan v. United States, 657 F.3d 604, 607-08 (7th Cir. 2011) (citation omitted)
(finding that “a reasonable prisoner may take at least two months . . . to suspect that
counsel has dropped the ball, contact counsel or the court, wait for a response, and verify
the suspicion”); see Granger, 90 F. App’x at 100 (finding petitioner acted with due
diligence when he waited two months to inquire about requested appeal). “[WJhen
counsel’s communications or lack thereof indicate that something is amiss with a
petitioner’s appeal, due diligence requires the petitioner to act on that information.” £/-
Abdu’llah v. Dir., Va. Dep’t Corr., No. 3:07CV494, 2008 WL 2329714, at *2 (E.D. Va.

June 4, 2008) (citations omitted).
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Here, according to Petitioner, counsel was very reluctant to pursue an appeal. In
the month or two after the deadline for filing an appeal, Petitioner fails to indicate he had
any further contact with counsel about the requested appeal. Under these circumstances,
a petitioner acting with reasonable diligence would have contacted the Court by July 1,
2018, over 2 and 1 half months after the time for filing an appeal had expired, and
discovered that no appeal had been filed. However, even with a belated commencement
of the limitation period until July 1, 2018, the § 2255 Motion is untimely because it was
not filed until more than a year later on November 11, 2019.

B. Equitable Tolling

Motions pursuant to § 2255 are subject to equitable tolling. See Holland v.
Florida, 560 U.S. 631, 645-46 (2010). The Supreme Court has “made clear that a
‘petitioner’ is ‘entitled to equitable tolling’ only if he shows ‘(1) that he has been
pursuing his rights diligently, and (2) that some extraordinary circumstance stood in his
way’ and prevented timely filing.” Jd. at 649 (quoting Pace v. DiGuglielmo, 544 US.
408, 418 (2005)). An inmate asserting equitable tolling “bears a strong burden to show
specific facts” that demonstrate he fulfills both elements of the test. Yang v. Archuleta,
525 F.3d 925, 928 (10th Cir. 2008) (quoting Brown v. Barrow, 512 F.3d 1304, 1307

(11th Cir. 2008)). To make the requisite showing of diligence, the petitioner “must allege
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with specificity the steps he took to diligently pursue his federal claims.” Jd. at 929-30
(10th Cir. 2008) (emphasis added).4

Here, Petitioner argues that the Court should toll the limitation period because he
“has no legal education” and counsel told him that “he had a year plus ninety (90) days to
file a claim for ineffective assistance of counsel ....” (ECF No. 151, at 1-2.) Neither
circumstance warrants tolling the limitation period. First, “ignorance of the law is not a
basis for equitable tolling.” United States v. Sosa, 364 F.3d 507, 512 (4th Cir. 2004)
(citing Cross-Bey v. Gammon, 322 F.3d 1012, 1015 (8th Cir. 2003); United States v.
Riggs, 314 F.3d 796, 799 (5th Cir. 2002); Delaney v. Matesanz, 264 F.3d 7, 15 (1st Cir.
2001); Marsh v. Soares, 223 F.3d 1217, 1220 (10th Cir. 2000)). Second “a mistake by a
party’s counsel in interpreting a statute of limitations does not present the extraordinary
circumstance beyond the party’s control where equity should step in to give the party the

benefit of his erroneous understanding.” Rouse v. Lee, 339 F.3d 238, 248 (4th Cir. 2003)

 

4 The diligence detailed by the petitioner in Holland stands in marked contrast to Petitioner’s
allegations here. See 560 U.S. 635-44. Holland provided the courts with a detailed description of
his efforts to pursue habeas relief. See id. From that description, the Supreme Court was able to
conclude that Holland acted with sufficient diligence because:

Holland not only wrote his attorney numerous letters seeking crucial information
and providing direction; he also repeatedly contacted the state courts, their clerks,
and the Florida State Bar Association in an effort to have Collins—the central
impediment to the pursuit of his legal remedy—removed from his case. And, the
very day that Holland discovered that his AEDPA clock had expired due to Collins’
failings, Holland prepared his own habeas petition pro se and promptly filed it with
the District Court.

Id. at 653.
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(quoting Harris v. Hutchinson, 209 F.3d 325, 331 (4th Cir. 2000)). Because Petitioner
fails to demonstrate any extraordinary circumstance or the requisite diligence, the Court
rejects Petitioner’s request to equitably toll the limitation period.

Petitioner’s § 2255 Motion (ECF No. 152) will be denied because it is barred by
the statute of limitations.

Ill. CONCLUSION

Petitioner’s Motions for Default Judgment (ECF Nos. 155, 156) will be denied.
The Government’s Motion to Dismiss (ECF No. 157) will be granted. Petitioner's
§ 2255 Motion (ECF No. 152) will be denied. Petitioner's Motion for Equitable Tolling
(ECF No. 151) will be denied. The Government's Motion for Waiver of Attorney Client
Privilege (ECF No. 158) and Petitioner’s Motion for Status of Case (ECF No. 162) will
be denied as moot. The action will be dismissed. A certificate of appealability will be
denied.

An appropriate Final Order will accompany this Memorandum Opinion.

/s/
Henry E. Hudson
Senior United States District Judge

Date: fet, 1,262
Richmond, Virginia
